         Case 2:18-cv-02545-KHV Document 701 Filed 08/26/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


LAMONTE MCINTYRE and                                   )
ROSE LEE MCINTYRE,                                     )
                                                       )
                               Plaintiff(s),           )
                                                       ) CASE NO. 18-2545-KHV
                                                       )
v.                                                     )
                                                       )
UNIFIED GOVERNMENT OF                                  )
WYANDOTTE COUNTY AND                                   )
KANSAS CITY, KANSAS, et al.                            )
                                                       )
                               Defendant(s).           )



                   MOTION FOR LEAVE TO APPEAR PRO HAC VICE

        Pursuant to D. Kan. Rule 83.5.4., I move that Tricia Rojo Bushnell be admitted to

practice in the United States District Court for the District of Kansas, for purposes of this case

only.

        I certify that I am a member in good standing of the Bar of this Court and that in

compliance with D. Kan. Rule 83.5.4(c), I will sign all pleadings and other papers which are

signed and filed by said attorney. I also agree that I will participate meaningfully in the

preparation and trial of this case, to the extent required by the Court.

        Pursuant to D. Kan. Rule 83.5.4 (a), I have attached the required affidavit in support of

this motion. I have verified that the information contained in the affidavit is true and accurate.
        Case 2:18-cv-02545-KHV Document 701 Filed 08/26/22 Page 2 of 3




Dated this 26th of August 2022




                                       By:
                                       /s/Jean K. Gilles Phillips
                                       Jean K. Gilles Phillips, #14540
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                                               and Post Conviction Remedies
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                           CERTIFICATE OF SERVICE

      I hereby certify that on the 26th of August 2022, a true and correct copy of the
above and foregoing was filed with the Court via its CM/ECF system.


                                       /s/Jean K. Gilles Phillips
                                       Jean K. Gilles Phillips, #14540
Case 2:18-cv-02545-KHV Document 701 Filed 08/26/22 Page 3 of 3
